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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

PJ Cotter,

       Plaintiff,

v.                                           Case No. 16-13080

U.S. Bank, N.A., et al.,                     Sean F. Cox
                                             United States District Court Judge
      Defendants.
______________________________/

                                    ORDER
         ADOPTING 4/4/17 AND 4/5/17 REPORTS AND RECOMMENDATIONS
                    AND DISMISSING PLAINTIFF’S CLAIMS

       Acting pro se, Plaintiff PJ Cotter filed this action in state court, naming three Defendants

(U.S. Bank, Ocwen Loan Servicing, LLC, and Trott Law, P.C.) and seeking to halt a pending

foreclosure and sheriff’s sale of his property in St. Clair County, Michigan.

       Defendants removed the action to this Court on August 25, 2016. Thereafter, on

September 1, 2016, a Motion to Dismiss was filed by Defendant Ocwen and U.S. Bank. (D.E.

No. 5). On October 12, 2016, Defendant Trott filed its own dispositive motion. (D.E. No. 13).

Both motions were referred to Magistrate Judge Anthony Patter for issuance of reports and

recommendations.

       In a twenty-one page Report and Recommendation (“R&R”) issued on April 4, 2017

(D.E. No. 24), the magistrate judge carefully considered all of the claims asserted against U.S.

Bank and Ocwen. He concluded that Plaintiff has failed to state a claim upon which relief can be

granted against Defendants U.S. Bank and Ocwen” and recommended that the Court “grant

Defendants’ motion to dismiss the complaint in its entirety, on the merits.” (Id. at Pg ID 894).

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         In an R&R issued on April 5, 2017 (D.E. No. 25), the magistrate judge addressed the

sparse and conclusory allegations against Defendant Trott and recommended that the Court grant

Defendant Trott’s motion and dismiss Defendant Trott from this action.

         Pursuant to Fed. R. Civ. P. 72(b), a party objecting to the recommended disposition of a

matter by a Magistrate Judge must filed objections to the R&R within fourteen (14) days after

being served with a copy of the R&R.

         The record reflects that Plaintiff has filed three different sets of objections to the two

R&Rs (D.E. Nos. 26, 27, and 28), filed on April 21, 2017, and April 24, 2017.

         None of the objections appear to have been timely filed. And more importantly, having

reviewed the magistrate judge’s two R&Rs and Plaintiff’s stated objections to them, the Court

concurs with the magistrate judge’s careful analysis and finds Plaintiff’s objections to be without

merit.

         Accordingly, the Court ADOPTS the magistrate judge’s April 4, 2017 R&R and his

April 5, 2017 R&R. IT IS FURTHER ORDERED that Plaintiff’s claims are DISMISSED

WITH PREJUDICE.

         IT IS SO ORDERED.

Dated: May 2, 2017                                      s/Sean F. Cox
                                                        Sean F. Cox
                                                        U. S. District Judge

I hereby certify that on May 2, 2017, the foregoing document was served on counsel of record
via electronic means and upon PJ Cotter via First Class mail at the address below:
PJ Cotter
PO Box 131
Anchorville, MI 48004

                                                        s/J. McCoy
                                                        Case Manager




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